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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                       )
                                    )
v.                                  )              1:21-cr-38
                                    )
BARNETT                             )
____________________________________)

        DEFENDANT’S MOTION FOR REQUEST FOR RECOMMENDATION
                      TO THE BOARD OF PRISONS


TO THE HONORABLE COURT:

       After the sentencing hearing today, the Defendant met with Sherry Baker from Pretrial

Services. Ms. Baker advised that it is not uncommon for Defendants to be granted up to 90 days

to self-surrender with a recommendation from the Court.

       Now that Mr. Barnett knows the extent of time of this sentence, he respectfully requests

that this Court recommend to the Board of Prisons that Mr. Barnett’s date of surrender be not

sooner than August 22, 2023. This is the wording that Ms. Baker advised.

       Mr Barnett needs this time to arrange for his affairs before he goes to prison.

Specifically, Mr. Barnett’s significant other is disabled and he will need to liquidate personal

property and try to earn some extra income to help her before he leaves. Additionally, he needs

to do repairs to her home to make sure everything is in working order and other miscellaneous

projects that will be unduly burdensome on her as she is not in a financial position to hire

someone to do these projects.

       Additionally, Ms. Baker advised that the Board of Prisons does not usually support a

placement recommendation that is over 500 miles away from the defendant’s residence. Because

of his age, Mr. Barnett is seeking a minimum security prison camp with no violent offenders and
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with work and psychological programs. However, after researching the matter Mr. Barnett could

not find any appropriate facilities within 500 miles from where Mr. Barnett lives in Northwest

Arkansas. Because of the absence of appropriate facilities within 500 miles, the Defendant

respectfully requests that the Court make a recommendation that the Board of Prisons allow for a

placement outside of 500 miles from Mr. Barnett’s residence. Any facility beyond 500 miles

would be considered with your recommendation. For example, Mr. Barnett’s first choice in

Yankton, South Dakota is approximately 545 miles away, and the others are also outside of 500

miles.

                                                            Respectfully submitted,

                                                            /s/ Jonathan S. Gross
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                                 CERTIFICATE OF SERVICE

         I hereby certify on this 24th day of May, 2023, a copy of the foregoing was served upon

all parties as forwarded through the Electronic Case Filing (ECF) System.

                                      /s/ Jonathan Gross, Esq
                                       Jonathan Gross, Esq.
